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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


            v.                                   CASE NO. 16-CR-339 (NAM)
                                                            16-CR-340

CLIF SEAWAY,

                        Defendant.
______________________________________________________________________________




              DEFENDANT’S RESPONSE TO THE
            GOVERNMENT’S SENTENCING MEMORANDUM




DATED:      April 10, 2018                LISA A. PEEBLES
                                          Federal Public Defender


                                    By:
                                          Randi J. Bianco
                                          Assistant Federal Public Defender
                                          Bar Roll No. 507514
                                          Clinton Exchange, 3rd Floor
                                          4 Clinton Street
                                          Syracuse, New York 13202
                                          (315) 701-0080




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           Pursuant to the Uniform Presentence Order issued by the Court, the defendant filed a

sentencing memorandum in the above-captioned matter. The defendant’s Sentencing

Memorandum addressed the Presentence Investigation Report (PSR) only, as we had not yet

received the government’s sentencing arguments.                    This memorandum addresses the government’s

arguments.

           I.        GOVERNMENT’S SENTENCING RECOMMENDATIONS

           The government premises its arguments that “Clif Seaway is an unapologetic serial sex

offender – a child rapist – whose victims are every child who ever had the misfortune of

spending even one night in his presence.” . . . “His entire life was built around [it].” 1 [Gov’t

memo at p 4].

            The government overstates their position in several ways. First, Mr. Seaway was charged

with conspiracy to sexually exploit a child (2 counts) and sexually exploiting a child (10 counts).

Seaway has never denied having sex with the children, but rather argued at trial that the

the production of the visual depiction was not for the purpose of engaging in the sexually explicit

conduct. Simply put, Seaway’s defense at trial was that he had sex with the children for the

purpose of having sex, not for the purpose of taking pictures. This is very different from denying

he committed the offenses (Gov’t at p. 8). Seaway argued at trial that the prosecution should

have been pursued in state court for the actual sexual abuse of the victims. The fact that the

government now wants to label him a “child rapist” misstates what he is actually charged with.

Additionally, the government’s contention that Seaway built his “entire life around it” also

misstates the evidence. Seaway is currently 62 years of age. According to the government’s

proof, the sexual conduct started in 2001 when Seaway was 45 years of age. This excludes the



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    “it” refers to the use of children for his own sexual gratification

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first 45 years of his life from this type of behavior.

        II.     SEAWAY’S CHILDHOOD AND BACKGROUND

        The government has argued that because Seaway’s abuse was unverified, or disputed by

his sister, it must be untrue. [Gov’t memo at p.6]. Yet in the latter part of the government’s

memorandum, they argue extensively that “children are particularly reluctant to talk about sexual

abuse.” [Gov’t memo at p. 9]. The government goes so far as to concede, “it is widely accepted

among researchers that sex offenses against children go unreported and undetected, a factor that

always should be considered is assessing the results of a sex offender recidivism study based

solely on reported arrests or convictions. United States Sentencing Commission, Report to

Congress: Federal Child Pornography Offenses (Dec 2012) at 295.” [Gov’t memo at p.9]. The

government devotes almost two pages of their sentencing memorandum in discussing why child

sexual offenses are underreported and therefore the “recidivism rates should be considered

underestimates.” [Gov’t memo at pp 9-10].

        The government cannot have it both ways. Seaway reported the sexual misconduct to his

mother. She did not believe him. Then he stopped trying to report the sexual abuse and began

running away from home. The failure to continue to try to report the abuse is entirely consistent

with the government’s arguments. It is also consistent with other studies. In fact, empirical

research demonstrates that a majority of child sexual abuse victims do not disclose during

childhood. See K. London et al., Disclosure of Child Sexual Abuse: What Does the Research Tell

Us About the Ways That Children Tell? (2005). Furthermore, male victims are even less likely to

disclose their abuse than their female counterparts. See S.E. Ullman et al., Gender Differences in

Social Reactions to Abuse Disclosures, Post-Abuse Coping, and PTSD of Child Sexual Abuse

Survivors (2005).



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       The government argues that Seaway’s repeated rapes by his father and others “were not

extreme and atypical abuse” [Gov’t memo at p. 7]. If repeated rapes by a parent and others are

not extreme, then what conduct is? The government further argues that there is no causal

connection between the abuse and the commission of the offense. [Gov’t memo at p. 7]. Nothing

could be further from the truth. Studies reveal that child sexual abuse has been strongly

correlated with depression, suicide, sexual promiscuity, and poor academic achievement. See

E.O. Paolucci et al., A Meta-Analysis of the Published Research on the Effects of Child Sexual

Abuse (2001). Being a victim of child sexual abuse is also correlated with becoming an offender

later in life. Id. Unfortunately, Mr. Seaway became part of this cycle of sexual abuse.

       The sexual abuse Seaway suffered is directly connected to the commission of the offense.

The effects of the sexual abuse began early as it led Seaway to run away from home repeatedly

when he was young. He then quite school in the ninth grade because he could not support

himself and attend school. He chose to drop out of school and get a job rather than return home

to the sexual abuse. The fact that Seaway was sexually abused by his own father and thereafter,

began to sexually abuse his own children is not a coincidence. Dr. Lazzaro did a forensic

psychological evaluation and determined that “Mr. Seaway has a heavy alcohol use and the

events that underlie his Posttraumatic Stress Disorder include the emotional, physical and sexual

abuse perpetuated on him for many years by his father . . “ Thus, the prior sexual abuse is more

than casually connected to the instant offense.

       III.    AGE AND RECIDIVISM

       The government argues that age will not affect Mr. Seaway’s rate of recidivism (Gov’t

memo at pp 8-11). If this Court were to sentence Seaway to 30 years plus a lifetime of

supervised release, he will be close to 90 years of age upon the time of his release assuming he



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gets credit for good behavior. The government has cited no studies on the recidivism rates of

persons released close to age 90 with extensive health issues.

       IV.     CONCLUSION

       The government concludes that that a guideline sentence is warranted by Seaway’s many

crimes “and his complete failure to accept responsibility for his own actions.” [Government

memo at p 12]. Prior to trial Seaway offered to plead guilty to each offense for a sentence of 30

years incarceration plus life supervision. The government would not agree to these terms and

wanted a sentence that would guarantee Seaway would die in prison. The fact that Seaway did

not agree to die in prison does not mean he is not willing to accept responsibility for his actions.

Seaway gave a 10 hour video-and audiotaped confession and a signed sworn statement before his

arrest. He is remorseful and stopped being a hands-on offender more than two years before his

arrest. Seaway wishes to undergo sex offender treatment, something he has never had before.

We submit that a 30 year sentence is sufficient but not greater than necessary to satisfy the goals

of the sentencing reform act.




DATED:         April 10, 2018                          LISA A. PEEBLES
                                                       Federal Public Defender


                                              By:     S/Randi J. Bianco, Esq.
                                                       Assistant Federal Public Defender
                                                       Bar Roll No. 507514
                                                       Clinton Exchange, 3rd Floor
                                                       4 Clinton Street
                                                       Syracuse, New York 13202
                                                       (315) 701-0080

TO:    Lisa Fletcher, Esq., AUSA
       Janna Kulakowski, USPO
       Clif Seaway

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